          IN THE UNITED STATES DISTRICT COURT                        
              NORTHERN DISTRICT OF TEXAS                             
                   DALLAS DIVISION                                   

KELLY MCGOWAN, et al.,          §                                         
                           §                                         
Plaintiffs,                §                                         
                           §                                         
v.                              §       Civil Action No. 3:18-CV-141-N    
                           §                                         
SOUTHERN METHODIST              §                                         
UNIVERSITY,                     §                                         
                           §                                         
Defendant.                 §                                         

           MEMORANDUM OPINION AND ORDER                              

This Order addresses Defendant Southern Methodist University’s (“SMU”) motion 
to compel [44].  For the following reasons, the Court grants in part and denies in part 
SMU’s motion.                                                             
            I.  ORIGINS OF THE DISCOVERY DISPUTE                     
Plaintiffs filed suit against SMU alleging negligence and Title IX violations.  More 
specifically, Plaintiffs allege that their participation on SMU’s women’s rowing team led 
to hip injuries, which affected and continue to affect their abilities to engage in certain 
activities.    SMU  served  Plaintiffs  with  its  first  set  of  requests  for  production  and 
interrogatories, seeking, among other requests, information regarding Plaintiffs’ social 
media activity, their employment information, and a damages calculations.  Plaintiffs 
objected to these requests.  SMU filed its motion to compel and seeks the Court to order 
Plaintiffs to provide the requested information.                          
           II.  MOTION TO COMPEL LEGAL STANDARD                      
Federal Rule of Civil Procedure 26 allows parties to “obtain discovery regarding 
any nonprivileged matter that is relevant to any party’s claim or defense and proportional 

to the needs of the case.”  FED. R. CIV. P. 26(b)(1).  A litigant may request the production 
of documents falling “within the scope of Rule 26(b)” from another party if the documents 
are in that party’s “possession, custody, or control.”  FED. R. CIV. P. 34(a).  To enforce 
discovery rights, a “party seeking discovery may move for an order compelling an answer, 
designation, production, or inspection.”  FED. R. CIV. P. 37(a)(3)(B).  The Fifth Circuit 

requires the party seeking to prevent discovery to specify why the discovery is not relevant 
or show that it fails the proportionality requirement.  McLeod, Alexander, Powel &amp; Apffel, 
P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990).  A district court has wide discretion 
to supervise discovery and must limit discovery if it would be unreasonably cumulative, 
could be obtained more easily from a different source, or if the burden or expense of the 

proposed discovery outweighs its potential benefit.  See FED. R. CIV. P. 26(b)(2)(C). 
When evaluating the relevance of a request, courts construe relevance broadly, as a 
document need not, by itself, prove or disprove a claim or defense or have strong probative 
force to be relevant.  Samsung Elecs. Am., Inc. v. Yang Kun Chung, 321 F.R.D. 250, 280 
(N.D. Tex. 2017).  Relevant information need not be admissible at trial if the discovery 

appears reasonably calculated to lead to the discovery of admissible evidence.  FED. R. CIV. 
P. 26(b)(1).  The Court should “balance the need for discovery by the requesting party and 
the relevance of the discovery to the case against the harm, prejudice, or burden to the other 
party.”  S.E.C. v. Brady, 238 F.R.D. 429, 437 (N.D. Tex. 2006).           
III.  THE COURT GRANTS IN PART AND DENIES IN PART SMU’S MOTION       
First, the Court grants SMU limited access to Plaintiffs’ social media accounts.  
Second, the Court requires Plaintiffs to provide limited employment information, and 

finally, the Court orders Plaintiffs to provide a damages calculation regarding medical 
damages.                                                                  
A.  The Court Grants in Part SMU’s Request for Plaintiffs’ Social Media Information 
Social  media  information  is  usually  considered  discoverable  and  “is  neither 
privileged nor protected by any right of privacy.”  Gondola v. USMD PPM, LLC, 223 F. 

Supp. 3d 575, 591 (N.D. Tex. 2016) (internal quotations and citations omitted).  But courts 
generally do not endorse an extremely broad request for all social media site content.  Id.  
For instance, “[c]ourts have held that ordering a party to permit access to or produce 
complete copies of his social networking site accounts would permit his opponent to cast 
too wide a net and sanction an inquiry into scores of quasi-personal information that would 

be irrelevant and non-discoverable.”  Id.                                 
SMU  submitted  three  requests  for  production,  asking  Plaintiffs  to  provide  all 
Facebook, Instagram, and Twitter account information from the date of their enrollment at 
SMU to the present.  Def. Southern Methodist University’s Mot. Compel Pls.’ Disc. Resps. 
Br. Supp. (“SMU’s Mot.”) 7 [44].  Plaintiffs objected that the requests were overly broad, 

unduly burdensome, irrelevant, disproportionate, and an invasion of Plaintiffs’ privacy.  
See App. Supp. Def. Southern Methodist University’s Mot. Compel Pls.’ Disc. Resps. 
(“SMU’s App.”), Ex. F 28 [45].  But Plaintiffs later provided social media information 
showing Plaintiffs’ engagement in physical activities.  Pls.’ Resp. Opp’n Def. Southern 
Methodist University’s Mot. Compel Pl.’s Disc. Resps. Br. Supp. (“Pls.’ Resp.”) 7–8 [47].  
Yet, SMU contends that it is entitled to all social media information because Plaintiffs’ 
allegations go beyond just the impairment of their abilities to perform physical activities.  

SMU’s Mot. 8.                                                             
The Court determines that Plaintiffs’ social media information is discoverable, but 
SMU is not entitled to unlimited access to Plaintiffs’ social media accounts because the 
Court is persuaded that unfettered access is too broad.  Thus, to the extent that the Plaintiffs 
have yet to do so, the Court requires Plaintiffs to produce posts reflecting Plaintiffs’ 

physical activities and emotional state, but the Court does not grant SMU unlimited access 
to Plaintiffs’ social media.                                              
B.  The Court Grants in Part SMU’s Request for Employment Information 
SMU requested that each Plaintiff return a “[s]igned authorization attached to this 
Request for Production, allowing SMU to obtain your employment records.”  Pls.’ Resp. 

8.  Plaintiffs objected to the request as overly broad, not relevant, and not proportional to 
the case.  Id. at 9.  Plaintiffs contend that they do not seek lost wages and that this 
information was an unnecessary intrusion into Plaintiffs’ professional lives.  Id.  However, 
SMU argues that Plaintiffs’ employment information is relevant to Plaintiffs’ claims that 
SMU’s conduct affected their abilities to perform daily activities.  SMU’s Mot. 17.  

The Court grants SMU’s request in part.  The Court determines that employment 
history is relevant, but the Court limits the scope of discoverable information.  The Court 
orders that Plaintiffs provide SMU with each Plaintiffs’ employment history, including 
information such as the date of employment, the employer’s contact information, and a job 
description.  But the Court does not grant SMU a blanket release.  If necessary, SMU can 
seek additional information from each employer.                           
C.  The Court Grants in Part SMU’s Request for a Damages Calculation 

Finally, the Court grants in part SMU’s request for a damages calculation.  Under 
Federal Rule of Civil Procedure 26, the plaintiff should provide “a computation of each 
category of damages claimed by the disclosing party.”  FED. R. CIV. P. 26(a)(1)(A)(iii).  
SMU requested Plaintiffs provide “[a]n itemization and explanation of each category of 
damages Plaintiffs seek in this case, along with any documents related to or supporting 

such damages.”  SMU’s Mot. 3.  Plaintiffs objected to SMU’s request as overly broad, 
unduly burdensome, seeking information that is not relevant, not proportionate to the case, 
not limited to the proper time, scope, or subject matter, lacking particularity, premature, 
and protected by privilege.  See SMU’s App., Ex. F 26–27.  Later, Plaintiffs informed SMU 
that they needed additional discovery, including an expert report, in order to provide a 

proper damages calculation, and they intend to provide a computation of future care 
expenses in a supplemental disclosure.  Pls.’ Resp. 10–11; SMU’s Mot. 5.   
The Court determines that SMU is entitled to a limited damages calculation and 
grants SMU’s request with respect to past medical damages only.  The Court orders 
Plaintiffs to provide a damages calculation regarding past medical damages, and the Court 

requires Plaintiffs to provide full supplementation as of Plaintiffs’ expert designation date.   
                      CONCLUSION                                     
The Court grants SMU’s motion in part.  The Court orders Plaintiffs to provide 
limited  access  to  their  social  media  accounts  and  limited  employment  history.  
Additionally,  the  Court  requires  Plaintiffs  to  provide  a  damages  calculation regarding 
medical damages.  The Court orders Plaintiffs to provide the stated discovery within thirty 
(30) days of this Order. 

 Signed May 6, 2020. 

                                                  David {  Godbey         □□ 
                                             United States District Judge 

MEMORANDUM OPINION AND ORDER — PAGE 6 